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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                         )
    VS.                  )                                    21-CR-00663-ZMF
                         )
TIMOTHY DESJARDINS       )



__________________________________________________________________

      JOINT MOTION TO CONTINUE STATUS CONFERENCE AND
              TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT


      Counsel for the defendant, Timothy Desjardins, and the United States of
America (the “government”), hereby move this Court to continue the virtual status
conference currently set for next Tuesday, February 13, 2024, to April 13, 2024.
      In support of this joint motion, the undersigned states as follows:
      The parties last convened for a virtual initial appearance and status hearing on
May 9, 2023. Since that date, the government and defense have been diligent in the
discovery process and are actively engaged in plea negotiations. In the event that a plea
agreement is reached prior to April 13, 2024, Mr. Desjardins and the government will
file an updated motion to the Court requesting that a Change of Plea hearing be set.
Mr. Desjardins is currently serving a 16-year prison sentence on unrelated state charges,
and accordingly does not contest pre-trial detention. Mr. Desjardins has waived his right
to a preliminary hearing, and further waives his right to be charged by indictment under
18 U.S.C. § 3161(b) until April 13, 2024, in order to facilitate ongoing plea negotiations.
      The parties therefore respectfully request that the Court continue the February
13, 2024, status conference as to the defendant. The parties can provide additional
availability as needed.
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      The parties further move this Court to exclude the time within which the trial
must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., until the next
status hearing, on the basis that the ends of justice served by taking such actions
outweigh the best interest of the public and the defendant in a speedy trial pursuant to
the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv), and failure to
grant such a continuance would result in a miscarriage of justice.



                                  Respectfully submitted,
                                  Timothy Desjardins
                                  By his attorney,

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